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         ORDERED in the Southern District of Florida on May 1, 2020.




                                                                   Erik P. Kimball, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION

         In re:

                                                                          Case No. 20-14792-EPK
         TOOJAY'S MANAGEMENT LLC, et al.,
                                                                          Chapter 11
                                                                          (Jointly Administered)
               Debtors.
         ____________________________________/

          ADMINISTRATIVE ORDER REGARDING HEARINGS BY VIDEO CONFERENCE

                  This Order sets forth the Court’s procedure when the Court sets a hearing by video conference

         in this case. This Order applies only when it is specifically incorporated by reference in a notice of

         hearing generated by the Court or in an order entered by the Court.

                  To expedite and facilitate the hearing of those matters set for hearing by video conference,

         including presentation of evidence, the Court ORDERS as follows:

                  1.     SERVICE OF THIS ORDER. The party obligated to serve a notice of hearing or
                         order setting hearing with regard to a matter set for hearing by video conference shall
                         include a copy of this Order with such notice of hearing and file a certificate of service
                         as required by this Court’s local rules. A certificate of service referencing both the
                         notice of hearing or order setting hearing and also this Order is sufficient.


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2.   VIDEO CONFERENCE. The Court is closed to in-person hearings as a result of
     the dangers presented by the COVID-19 pandemic. The hearing will take place by
     video conference using the services of Zoom Video Communications, Inc. The Court
     will provide a password-protected link for the appropriate Zoom video conference to
     those approved persons who have submitted to the Court a notice of intent to
     participate in accordance with paragraph 3, below. All approved participants shall
     conduct a pre-hearing test of Zoom using the same equipment that they intend to use
     during the hearing.

3.   PRIOR NOTICE OF INTENT TO PARTICIPATE; LIMIT ON
     PARTICIPATION BY VIDEO; TELEPHONE PARTICIPATION. All
     persons wishing to participate in the hearing by video conference shall provide notice
     to Dawn_Leonard@flsb.uscourts.gov via electronic mail no later than 3:00 p.m.
     prevailing Eastern Time on the court day preceding the date of the hearing.
     Such notice shall include the full name and electronic mail address of the proposed
     video participant and shall identify the party represented. The parties are encouraged
     to limit video conference participation to those who are necessary to the presentation
     of the matter(s) set for hearing. If the number of persons wishing to participate in the
     video conference, in the Court’s view, exceeds the number which would permit the
     efficient, stable, and reliable transmission of the hearing by video conference, the
     Court may require that certain persons be permitted to participate in the hearing only
     by telephone. The Court will provide to each person participating by telephone
     separate dial-in instructions, which may be used with any telephone equipment.

4.   PUBLIC ACCESS. The hearing is a public matter. The general public is invited to
     listen to the hearing by telephone. Any person wishing to listen to the hearing by
     telephone     may     contact    Dawn    Leonard    by     electronic    mail   at
     Dawn_Leonard@flsb.uscourts.gov to obtain dial-in instructions.

5.   RECORDING PROHIBITED; OFFICIAL RECORD. No person may record
     the proceedings from any location by any means. The audio recording maintained by
     the Court shall be the sole basis for creation of a transcript that constitutes the official
     record of the hearing.

6.   REMOTE WITNESS TESTIMONY. The Court may determine to permit
     examination and/or cross-examination of witnesses. In accordance with Federal Rule
     of Civil Procedure 43(a) (made applicable by Federal Rule of Bankruptcy Procedure
     9017), for good cause and in compelling circumstances a witness may be permitted to
     testify by contemporaneous transmission from a location other than the courtroom.
     The Court finds that the public danger presented by the COVID-19 pandemic merits
     application of this rule with regard to all witnesses who may testify in connection with
     the matter(s) set for hearing. Each remote witness called to testify or subject to cross-
     examination shall be permitted to testify by contemporaneous transmission from a
     different location by video conference, as provided in this Order. The Court will
     administer the oath to each remote witness during the video conference and witness
     testimony will have the same effect and be binding upon each remote witness in the
     same manner as if such remote witness was sworn in by the Court in person in open
     court. As additional safeguards for the allowance of remote testimony, the Court

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     requires as follows: (a) each remote witness must disclose the city, state and country,
     and the type of place (such as home or office), where she or he is located while
     testifying; (b) no other person shall be permitted to be in the same room with any
     remote witness unless specifically authorized by the Court; (c) each remote witness
     shall have with her or him only those documents also provided to the Court for
     consideration in connection with the matter(s) set for hearing and no other documents
     or data; and (d) no person shall communicate with a witness during his or her
     testimony, except by direct examination or cross-examination on the record, unless
     specifically authorized by the Court.

7.   CONDUCT DURING HEARING. Although conducted using video conferencing
     technology, the hearing is a court proceeding. The formalities of the courtroom shall
     be observed. Counsel and witnesses shall dress appropriately, exercise civility, and
     otherwise conduct themselves in a manner consistent with the dignity of the Court.

8.   COMPLIANCE WITH FEDERAL JUDICIARY PRIVACY POLICY. All
     papers submitted to the Court, including exhibits, must comply with the federal
     judiciary privacy policy as referenced in Local Rule 5005-1(A)(2).

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